     Case 6:19-ap-01050-MH           Doc 39 Filed 12/20/19 Entered 12/20/19 15:48:26                         Desc
                                      Main Document Page 1 of 2



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 5                                                                               CLERK U.S. BANKRUPTCY COURT
     Attorneys for Plaintiffs Jonathan Baker & Baker Entertainment Group Central District of California
 6                                                                               BY cargill   DEPUTY CLERK



 7
 8                              UNITED STATES BANKRUPTCY COURT

 9                               CENTRAL DISTRICT OF CALIFORNIA

10                                         RIVERSIDE DIVISION
11
12
      In re                                                    Case No.: 6:19-bk-10279-MH
13
      THOMAS MOUNT,                                            Adv. Pro. No.: 6:19-ap-01050-MH
14
15                    Debtor.                                  Before the Honorable Mark Houle

16    JONATHAN BAKER & BAKER                                   Chapter 7
      ENTERTAINMENT GROUP,
17                                                             ORDER GRANTING STIPULATION
                      Plaintiffs,                              RESOLVING PLAINTIFF'S
18                                                             OBJECTIONS TO SCOPE OF
      v.                                                       DEFENDANT THOMAS MOUNT'S
19
                                                               REQUESTS FOR PRODUCTION OF
20    THOMAS MOUNT,                                            DOCUMENTS TO PLAINTIFF
                                                               JONATHAN BAKER AND BAKER
21                    Defendant                                ENTERTAINMENT GROUP
22
23            The Court has considered the STIPULATION RESOLVING PLAINTIFF'S

24   OBJECTIONS TO SCOPE OF DEFENDANT THOMAS MOUNT'S REQUESTS FOR
25   PRODUCTION OF DOCUMENTS TO PLAINTIFF JONATHAN BAKER AND BAKER
26
     ENTERTAINMENT GROUP (“Stipulation”), between Plaintiff, JONATHAN BAKER &
27
     BAKER ENTERTAINMENT GROUP and Defendant, THOMAS MOUNT:
28

                                                         1
     Case 6:19-ap-01050-MH         Doc 39 Filed 12/20/19 Entered 12/20/19 15:48:26   Desc
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 1        Based upon the Stipulation and good cause appearing therefor, the Stipulation is
 2   APPROVED.
 3
          IT IS SO ORDERED.
 4
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26       Date: December 20, 2019
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